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  7                       UNITED STATES DISTRICT COURT
  8                      CENTRAL DISTRICT OF CALIFORNIA
  9    RADLEY BRADFORD,                         Case No. 8:20-cv-02389-CJC-ADS
       individually, and on behalf of others
 10    similarly situated,                      PROPOSED ORDER ON
                                                STIPULTION OF DISMISSAL
 11                    Plaintiff,               (DKT. 9)
 12          v.
 13
       QUEST HEALTHCONNECT, LLC,
 14
                       Defendant.
 15

 16

 17         Plaintiff, RADLEY BRADFORD and Defendant, QUEST
 18
      HEALTHCONNECT, LLC, through their respective counsel, having filed their
 19

 20   Stipulation of Dismissal with Prejudice and the Court having reviewed same,

 21   hereby ORDERED:
 22
         1. The stipulation is approved. The action is hereby dismissed with prejudice of
 23

 24         Plaintiff’s individual claims.
 25      2. The class claims are dismissed without prejudice.
 26

 27           February 22, 2021
      Dated: ___________________               ________________________________
                                                 _______________________________
 28                                                     STATES
                                               UNITED STAT  TES DISTRICT  T JJUDGE
                                                                              UD
                                                HON. CORMAC
                                                     CORMA AC J. CARNEY
                                                                 CARNE  EY
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